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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

iMedia Brands, Inc., et al.,1                                          Case No. 23-10852 (KBO)

                                            Debtors.                   (Jointly Administered)



                 NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
               HEARING ON AUGUST 2, 2023 AT 1:00 P.M. (EASTERN TIME)2


      This hearing will be conducted in person. All parties, including witnesses, are expected to
       attend in person unless permitted to appear via Zoom. Participation at the in-person court
    proceeding using Zoom is allowed only in the following circumstances: (i) counsel for a party
    or a pro se litigant files a responsive pleading and intends to make only a limited argument; (ii)
        a party or a representative of a party is interested in observing the hearing; (iii) a party is
     proceeding in a claims allowance dispute on a pro se basis; (iv) an individual has a good faith
    health-related reason to participate remotely and has obtained permission from chambers to do
         so; or (v) other extenuating circumstances that warrant remote participation as may be
                                          determined by the Court.3



            If appearance via Zoom is permitted, please use the following link to register for
    this hearing to appear via Zoom. All individuals participating by video must register at
    least two (2) hours prior to the hearing. After registering your appearance by Zoom, you
    will receive a confirmation email containing information about joining the hearing.


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive,
Inc. (8730); Portal Acquisition Company (3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc.
(2155); JWH Acquisition Company (3109); PW Acquisition Company, LLC (0154); EP Properties, LLC (3951); FL
Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC (2642). The Debtors’
service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.

2
  This agenda contains hyperlinks to filed documents pursuant to the Court’s Interim Order re: Cessation of Hand
Deliveries, dated March 13, 2020. Parties may access the filed documents through the hyperlink for a fee through
the Court’s website at www.deb.uscourts.gov, or the documents may be obtained for free by accessing the Debtors’
restructuring website at https://cases.stretto.com/imediabrands/.

3
  See Chambers Procedures of the Honorable Karen B. Owens dated October 3, 2022.
https://www.deb.uscourts.gov/content/judge-karen-b-owens.


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 https://debuscourts.zoomgov.com/meeting/register/vJIsdemhqzwoGurI9HMCvYlDw_ZPjlg-GqY

                   Topic: iMedia Brands, Inc., et al. – Case No. 23-10852 (KBO)
                   When: August 2, 2023 at 1:00 p.m. (Prevailing Eastern Time)

                  You must use your full name when registering and logging into
                      Zoom or you will not be granted access to the hearing.
                         CourtCall will NOT be used for this hearing.



MATTERS GOING FORWARD

1.      Cash Management Motion – Debtors’ Motion for Entry of Interim and Final Orders (I)
        Authorizing Debtors to (A) Continue to Operate Their Cash Management System, (B)
        Honor Certain Prepetition Obligations Related Thereto, (C) Maintain Existing Business
        Forms, and (D) Continue Certain Intercompany Transactions, and (II) Granting Related
        Relief [Filed: 6/29/23] (Docket No. 8).

        Response Deadline: July 12, 2023 at 4:00 p.m. (Eastern Time). Extended to July 24, 2023
        for the Trustee and the Committee.

        Responses Received:

        a. Informal comments from PNC Bank, National Association.

        b. Informal comments from the Trustee.

        c. Omnibus Reservation of Rights of the Official Committee of Unsecured Creditors to
           Certain First Day Motions and Entry of Final Orders Granting the Same [Filed:
           7/17/23] (Docket No. 159).

        Related Documents:

        a. Certification of Counsel Submitting Revised Interim Order (I) Authorizing Debtors to
           (A) Continue to Operate Their Cash Management System, (B) Honor Certain
           Prepetition Obligations Related Thereto, (C) Maintain Existing Business Forms, and
           (D) Perform Certain Intercompany Transactions, and (II) Granting Related Relief
           [Filed: 6/30/23] (Docket No. 62).

        b. [Signed] Interim Order (I) Authorizing Debtors to (A) Continue to Operate Their Cash
           Management System, (B) Honor Certain Prepetition Obligations Related Thereto, (C)
           Maintain Existing Business Forms, and (D) Perform Certain Intercompany
           Transactions, and (II) Granting Related Relief [Filed: 6/30/23] (Docket No. 67).

        c. Notice of Entry of Interim Order and Final Hearing Regarding Debtors’ Motion for
           Entry of Interim and Final Orders (I) Authorizing Debtors to (A) Continue to Operate


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             Their Cash Management System, (B) Honor Certain Prepetition Obligations Related
             Thereto, (C) Maintain Existing Business Forms, and (D) Continue Certain
             Intercompany Transactions, and (II) Granting Related Relief [Filed: 7/3/23] (Docket
             No. 76).

        d. Declaration of James Alt in Support of Supplement to Debtors’ Motion for Entry of
           Interim and Final Orders (I) Authorizing Debtors to (A) Continue to Operate Their
           Cash Management System, (B) Honor Certain Prepetition Obligations Related Thereto,
           (C) Maintain Existing Business Forms, and (D) Continue Certain Intercompany
           Transactions, and (II) Granting Related Relief [Filed: 7/25/23] (Docket No. 252).

        e. Certification of Counsel Regarding Debtors’ Motion for Entry of Interim and Final
           Orders (I) Authorizing Debtors to (A) Continue to Operate Their Cash Management
           System, (B) Honor Certain Prepetition Obligations Related Thereto, (C) Maintain
           Existing Business Forms, and (D) Continue Certain Intercompany Transactions, and
           (II) Granting Related Relief [Filed: 7/25/23] (Docket No. 255).

        Status: This matter will go forward.

2.     Bid Procedures Motion - Debtors’ Motion for Entry of an Order (I) Approving Bidding
       Procedures, the Form and Manner of Notice Thereof and (II) Granting Related Relief [Filed:
       7/28/23] (Docket No. 311)

        Response Deadline: Responses made be filed any time at or before the hearing.

        Related Documents:

        a. Debtors’ Motion Pursuant to Sections 105, 363, and 365 of the Bankruptcy Code for
           Entry of an Order (I) Authorizing the Sale of Substantially All of the Debtors’ Assets
           Free and Clear of All Encumbrances Other Than Assumed Liabilities; (II) Approving
           the Debtors’ Entry Into the Asset Purchase Agreement; (III) Authorizing Assumption
           and Assignment of Certain Executory Contracts and Unexpired Leases; and (IV)
           Granting Related Relief [Filed: 7/3/23] (Docket No. 93).

        b. Debtors’ Motion to Shorten Notice and Schedule Expedited Hearing on Bidding
           Procedures Motion [Filed: 7/28/23] (Docket No. 312)

        c. [FILED UNDER SEAL] Declaration of James Alt in Support of (A) Debtors' Motion
           for Entry of an Order (I) Approving Bidding Procedures, the Form and Manner of
           Notice Thereof and (II) Granting Related Relief and (B) Motion to Shorten Notice With
           Respect Thereto [Filed: 7/31/23] (Docket No. 315)

        d. [REDACTED] Declaration of James Alt in Support of (A) Debtors' Motion for Entry
           of an Order (I) Approving Bidding Procedures, the Form and Manner of Notice Thereof
           and (II) Granting Related Relief and (B) Motion to Shorten Notice With Respect
           Thereto [Filed: 7/31/23] (Docket No. 316)




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        e. [FILED UNDER SEAL] Declaration of Eugene Lee in Support of (A) Debtors' Motion
           for Entry of an Order (I) Approving Bidding Procedures, the Form and Manner of
           Notice Thereof and (II) Granting Related Relief and (B) Motion to Shorten Notice With
           Respect Thereto [Filed: 7/31/23] (Docket No. 319)

        f. [REDACTED] Declaration of Eugene Lee in Support of (A) Debtors' Motion for Entry
           of an Order (I) Approving Bidding Procedures, the Form and Manner of Notice Thereof
           and (II) Granting Related Relief and (B) Motion to Shorten Notice With Respect
           Thereto [Filed: 7/31/23] (Docket No. 320)

        g. [Signed] Order Granting Debtors’ Motion to Shorten Notice and Schedule Expedited
           Hearing on Bid Procedures Motion [Filed: 7/31/23] (Docket No. 322)

        h. Notice of Hearing on Debtors’ Motion for Entry of an Order (I) Approving Bidding
           Procedures, the Form and Manner of Notice Thereof and (II) Granting Related Relief
           [Filed: 7/31/23] (Docket No. 323)

        Status: This matter is going forward.

3.     Seal Motion - Debtors’ Motion for Entry of an Order Authorizing Debtors to Redact and
       File Under Seal Portions of the Bid Procedures Declarations [Filed: 7/31/23] (Docket No.
       321)

        Response Deadline: Responses made be filed any time at or before the hearing.

        Related Documents:

        a. [FILED UNDER SEAL] Declaration of James Alt in Support of (A) Debtors' Motion
           for Entry of an Order (I) Approving Bidding Procedures, the Form and Manner of
           Notice Thereof and (II) Granting Related Relief and (B) Motion to Shorten Notice With
           Respect Thereto [Filed: 7/31/23] (Docket No. 315)

        b. [REDACTED] Declaration of James Alt in Support of (A) Debtors' Motion for Entry
           of an Order (I) Approving Bidding Procedures, the Form and Manner of Notice Thereof
           and (II) Granting Related Relief and (B) Motion to Shorten Notice With Respect
           Thereto [Filed: 7/31/23] (Docket No. 316)

        c. [FILED UNDER SEAL] Declaration of Eugene Lee in Support of (A) Debtors' Motion
           for Entry of an Order (I) Approving Bidding Procedures, the Form and Manner of
           Notice Thereof and (II) Granting Related Relief and (B) Motion to Shorten Notice With
           Respect Thereto [Filed: 7/31/23] (Docket No. 319)

        d. [REDACTED] Declaration of Eugene Lee in Support of (A) Debtors' Motion for Entry
           of an Order (I) Approving Bidding Procedures, the Form and Manner of Notice Thereof
           and (II) Granting Related Relief and (B) Motion to Shorten Notice With Respect
           Thereto [Filed: 7/31/23] (Docket No. 320)

        Status: This matter will go forward.


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